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AO 245B-CAED (Rev. 3/04) Sheet 1 - Judgment in a Criminal Case


                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                     v.                                                  (For Offenses Committed On or After November 1, 1987)
               JEFFREY WELLS                                             Case Number: 2:04CR00069-01


                                                                         Wayne Ordos
                                                                         1415 “L” Street, Suite 410
                                                                         Sacramento, CA 95814
                                                                         Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to counts: 1 - 10 of the Indictment .
[]       pleaded nolo contendere to count(s)        which was accepted by the court.
[]       was found guilty on count(s)      after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                            Date Offense           Count
Title & Section                      Nature of Offense                                      Concluded              Number(s)
Please see below.



       The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on counts(s)             and is discharged as to such count(s).

[U]      Counts 11-22 of the Indictment are dismissed on the motion of the United States.

[]       Indictment is to be dismissed by District Court on motion of the United States.

[U]      Appeal rights given.                          [U]       Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.

                                                                 2/13/07
                                                                 Date of Imposition of Judgment



                                                                 Signature of Judicial Officer


                                                                 MORRISON C. ENGLAND, JR., United States District Judge
                                                                 Name & Title of Judicial Officer

                                                                 February 23, 2007
                                                                 Date
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AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
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DEFENDANT:                 JEFFREY WELLS

                                                                Date Offense        Count
Title & Section                     Nature of Offense           Concluded           Number(s)
18 USC 1343                         Wire Fraud                  03/31/2003          1
18 USC 1343                         Wire Fraud                  04/01/2003          2
18 USC 1343                         Wire Fraud                  04/09/2003          3
18 USC 1343                         Wire Fraud                  04/10/2003          4
18 USC 1343                         Wire Fraud                  08/01/2003          5
18 USC 1343                         Wire Fraud                  08/01/2003          6
18 USC 1343                         Wire Fraud                  12/08/2003          7
18 USC 1343                         Wire Fraud                  12/09/2003          8
18 USC 1343                         Wire Fraud                  12/16/2003          9
18 USC 1343                         Wire Fraud                   12/17/2003         10
18 USC 982(a)(1),         Criminal Forfeiture
981(a)(1)(C), 28 USC 2461
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AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
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DEFENDANT:                 JEFFREY WELLS


IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for 36
months as to each of Counts 1-10, to run concurrently to each other, for a total term of imprisonment of 36 months.




[U]      The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends that the defendant be incarcerated in a Northern or Central California facility, but only
         insofar as this accords with security classification and space availability.


[]       The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[U]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [U] before 2:00 pm on 4/13/07 .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
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 AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
 CASE NUMBER:                2:04CR00069-01                                                                               Judgment - Page 4 of 7
 DEFENDANT:                  JEFFREY WELLS


                                                   SUPERVISED RELEASE
          Upon release from imprisonment, the defendant shall be on supervised release for a term of 36 months on each of Counts
 1-10 to be served concurrently, for a total term of 36 months.


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, not to exceed four (4) drug tests per month.

[U]      The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
         substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[U]      The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall register and comply with the requirements in the federal and state sex offender registration agency in the
         jurisdiction of conviction, Eastern District of California, and in the state and in any jurisdiction where the defendant resides, is
         employed, or is a student. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                 STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
      each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm
      the defendant's compliance with such notification requirement.
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AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
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DEFENDANT:                 JEFFREY WELLS


                                SPECIAL CONDITIONS OF SUPERVISION
         1.   The defendant shall submit to the search of his person, property, home, and vehicle by a United
              States Probation Officer, or any other authorized person under the immediate and personal
              supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
              Failure to submit to a search may be grounds for revocation. The defendant shall warn any
              other residents that the premises may be subject to searches pursuant to this condition.

         2.   The defendant shall not dispose of or otherwise dissipate any of his assets until the fine and/or
              restitution order by this judgment is paid in full, unless the defendant obtains approval of the
              court.

         3.   The defendant shall provide the probation officer with access to any requested financial
              information.

         4.   The defendant shall not incur new credit charges or open additional lines of credit without the
              approval of the probation officer.
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AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:04CR00069-01                                                                             Judgment - Page 6 of 7
DEFENDANT:                    JEFFREY WELLS


                                           CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                     Assessment                        Fine                     Restitution
      Totals:                                          $ 1000                           $                      $ 2,000,000


[]    The determination of restitution is deferred until         . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

[U] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
      specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
      all nonfederal victims must be paid before the United States is paid.



Name of Payee                                        Total Loss*                Restitution Ordered Priority or Percentage
Attention: President                                 $2,000,000                     $2,000,000
SureWest Communications
200 Vernon Street
Roseville, CA 95678

      TOTALS:                                      $ 2,000,000                     $ 2,000,000




[]    Restitution amount ordered pursuant to plea agreement $

[]    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
      before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
      Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[U]       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      [U] The interest requirement is waived for the                 [ ] fine          [U] restitution

      [ ] The interest requirement for the                  [ ] fine [ ] restitution is modified as follows:




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
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AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
CASE NUMBER:                 2:04CR00069-01                                                                          Judgment - Page 7 of 7
DEFENDANT:                   JEFFREY WELLS

                                                 SCHEDULE OF PAYMENTS


     Payment of the total fine and other criminal monetary penalties shall be due as follows:

A    [ ] Lump sum payment of $              due immediately, balance due

           []      not later than  , or
           []      in accordance with            [ ] C,   [ ] D,   [ ] E, or   [ ] F below; or

B    [U]           Payment to begin immediately (may be combined with          [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of             (e.g., months or years),
         to commence     (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of (e.g., months or years),
         to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of supervised release will commence within     (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
         time; or

F    [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[U] Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate: Larry Wells 2:04cr00069-02; Henry Kaiser 2:04cr00069-03 - $2,000,000



[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[U] The defendant shall forfeit the defendant’s interest in the following property to the United States: The preliminary order
    of forfeiture filed with the court on 2/12/07 is hereby made final and incorporated in this judgment.
